        Case 1:18-cv-01013-MAD-DJS Document 27 Filed 09/05/18 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
          FOR THE DISTRICT OF NORTHERN DISTRICT OF NEW YORK
                                            )
____________________,
JOHN DOE                                    )
              Plaintiff(s)                  )
                                            )
      v.                                    )    CASE NO.____________________
                                                         1:18-CV-01013-MAD-DJS
RENSSELAER                                  )
____________________,
POLYTECHNIC INST., ET AL.                   )
              Defendant(s)                  )
                                            )

                                       REQUEST FOR TRANSCRIPT

         TO: Theresa Casal                                        , Court Reporter / Transcriber.

        Notice is hereby given that an official transcript1 of a proceeding has been requested of
the following portion(s) of the proceedings:

on August 30, 2018, in the above-captioned matter .
______________________________________________________________________________

______________________________________________________________________________

       The party requesting the transcript must also provide the Court Reporter / Transcriber
with a FORM AO 435 Transcript Order2. This form is available on the Court’s website at
www.nynd.uscourts.gov.,

        Please note that if the Transcript request is for an appeal, the requestor must also file the
appropriate transcript appeal forms that are available on the 2nd Circuit Webpage at
http://www.ca2.uscourts.gov/.
                                                                                               Digitally signed by Reynolds, Pamela S.C.

                                                                   Reynolds, Pamela S.C.       DN: dc=com, dc=littler, ou=FirmUsers, ou=ROC, cn=Reynolds,

                                                                 S/__________________________________
                                                                                               Pamela S.C., email=PReynolds@littler.com
                                                                                               Date: 2018.09.04 22:07:42 -04'00'



                                                                 Attorney for__________________________
                                                                                Defendants
                                                                 NDNY Bar Roll #_____________________
                                                                                      515240
                                                                 Address:____________________________
                                                                          Littler Mendelson, P.C.
                                                                            375 Woodcliff Drive, Second Floor
                                                                            Fairport, New York 14450



         1
          Upon the filing of the official transcript with the Clerk of Court in a civil or criminal proceeding by the
court reporter, the parties will have five (5) business days to file a Notice of Intent to Request Redaction. For
additional information on the Court’s Policy concerning redaction of transcripts please visit the Court website at
www.nynd.uscourts.gov.
         2
          For Criminal transcript requests by a CJA Panel Member please request from the Clerk’s Office a CJA-24
Transcript Voucher form and have it approved by the presiding judge prior to filing this form.
          Case 1:18-cv-01013-MAD-DJS Document 27 Filed 09/05/18 Page 2 of 2



                                                                                   Certificate of Service

                                  9/5/2018
       I hereby certify that on ________________            , I electronically filed the foregoing with the
Clerk of Court using the CM/ECF system which will send notification to the following:
___________________________________________________________________________,
James C. Knox and Julie A. Nociolo, Attorneys for Plaintiff


and that I mailed by United States Postal Service the document to the following non CM/ECF
participants:__________________________________________________________________.

                                Digitally signed by Reynolds, Pamela S.C.

  Reynolds, Pamela S.C.         DN: dc=com, dc=littler, ou=FirmUsers, ou=ROC,

S/_____________________________ cn=Reynolds, Pamela S.C., email=PReynolds@littler.com
                                Date: 2018.09.04 22:25:47 -04'00'




ndny notice of filing of official transcript 1/16/06
